                          DECISION OF DISMISSAL
This matter is before the court on its own motion to dismiss for failure to comply with an Order of this court.
On November 5, 2010, this court issued an Order. The court ordered Plaintiff to provide to the assessor evidence supporting its value reduction request within 10 days of the date of the Order. The court further ordered Plaintiff to indicate in its written explanation to the court and the assessor that the evidence supporting its case had been provided to the assessor within the 10-day time period.
The court's order, which was sent to Plaintiff's representative Tajinder Chahal, advised Plaintiff that failing to comply with the Order of the court would result in dismissal. As of the date of this decision, Plaintiff has not complied with the court's Order. As a result, the court concludes the appeal should be dismissed. Now, therefore, *Page 2 
IT IS THE DECISION OF THIS COURT that this matter is dismissed.
Dated this ___ day of November 2010.
If you want to appeal this Decision, file a Complaint in theRegular Division of the Oregon Tax Court, by mailing to:1163 State Street, Salem, OR 97301-2563; or by hand delivery to:Fourth Floor, 1241 State Street, Salem, OR.
 Your Complaint must be submitted within 60 days after the date ofthe Decision or this Decision becomes final and cannot be changed.
 This document was signed by Magistrate Dan Robinsonon November 18, 2010. The Court filed and entered this documenton November 18, 2010.